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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE



In re:                                                    Chapter 11

FRANCHISE GROUP, INC., et al.,                            Case No.: 24-12480 (JTD)

                   Debtors.                               (Jointly Administered)


                          MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice of
Kevin M. Newman of Barclay Damon LLP to represent Benenson Capital Partners LLC, CRI New Albany Square,
LLC, DLC Management Corporation, First National Realty Partners, Grove City Plaza, L.P., HV Center LLC, et al.,
(HV Center LLC, HV Center TIC I LLC, HV Center TIC 2 LLC), Inland Commercial Real Estate Services LLC,
National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al. (SS Tulsa Center
LLC, SS Tulsa Center TIC 1 LLC, SS Tulsa Center TIC 2 LLC, Tulsa Center TIC 3 LLC, and SS Tulsa Center TIC 4
LLC), Wheeler REIT, LP, and/or certain of their affiliates in the above case and any associated adversary
proceedings.

Dated: December 10, 2024                                    /s/ Laurel D. Roglen
Wilmington, Delaware                                        Laurel D. Roglen, Esquire (DE No. 5759)
                                                            BALLARD SPAHR LLP
                                                            919 North Market Street, 11th Floor
                                                            Wilmington, Delaware 19801
                                                            Telephone: (302) 252-4462
                                                            Facsimile: (302) 252-4466
                                                            E-mail: roglenl@ballardspahr.com

                    CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York and submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I also
certify that I am generally familiar with this Court’s Local Rules and with the Standing Order for District Court
Fund revised 12/21/23. I further certify that the fee of $50.00 has been paid to the Clerk of the District Court.

Dated: December 10, 2024                                    /s/ Kevin M. Newman
Wilmington, Delaware                                        Kevin M. Newman
                                                            BARCLAY DAMON LLP
                                                            125 E. Jefferson Street
                                                            Syracuse, NY 13202
                                                            Telephone: (315) 413-7115
                                                            Facsimile: (315) 703-7349
                                                            E-mail: knewman@barclaydamon.com

                                         ORDER GRANTING MOTION

           IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




         Dated: December 10th, 2024                             JOHN T. DORSEY
         Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE
